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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

JACKSONVILLE DIVISION
In Re: Case No._16-03913-JAF __
Chapter 7
LILLY REAL,
Debtor. Filed in Open Court
JAN 08 2018
CLERK, U.S. BANKAUPTEY COURT
Debtor’s Exhibit List MIDDLE DISTRICT OF FLORIDA
(Hearing on Motion for Sanctions (Doc. No. 12)
Hearing Date: 1/8/2018
Exh. # Document Description Date Date With or
Identified | Admitted | Without
Objection
fs {_f. i
1 Docket in bankruptcy case 16-03913 VES fF, g / ls | nie
2 Complaint SLES LE SOLE r
3 Lilly Real email to daycare LISS . w/P
4 Frank Polo email to Lilly Real LLESAE wife
5 Amended Schedules LSS OBS. AY foee
6 Suggestion of bankruptcy UEllE W/o
7 Docket in Polo v. Real case 17-CA-3553 | //¢ //£ ¥ 7.8 foro
8 Notice of Temp intent not to prosecute U§glt wW/e
9 Motion to file amended complaint WU SHE wiles
10 Edward Jackson email to Frank Polo MSE/) &
11 Motion for Declaratory Judgment SHEUES
12 Email to Polo re bankruptcy 4, 1S cf). &

 

 

 

 

 

 

 
